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                          Exhibit 9
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 1              UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF LOUISIANA
 2

 3   IN RE:   OIL SPILL          )   MDL NO. 2179
     BY THE OIL RIG              )
 4   "DEEPWATER HORIZON" IN      )   SECTION "J"
     THE GULF OF MEXICO, ON      )
 5   APRIL 20, 2010              )   JUDGE BARBIER
                                 )   MAG. JUDGE SHUSHAN
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20                 Deposition of RICHARD HAMMERSLEY
21   HEENAN, taken at Pan-American Building, 601
22   Poydras Street, 11th Floor, New Orleans,
23   Louisiana, 70130, on the 21st day of
24   November, 2011.
25



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         1        Q.        Is it fair to say, Mr. Heenan,
         2   when you say that the people involved in the
         3   negative pressure test believed they already
         4   had the answer, that you're making an
11:17    5   assumption?
         6        A.        I'm making an assumption,
         7   correct.
         8        Q.        Do you believe that any of the
         9   men involved in the negative pressure test on
11:17 10     April 20th, 2010, had an incentive to get the
        11   test wrong?
        12        A.        I don't think they had an
        13   incentive.    I don't think it was done
        14   intentionally.
11:17 15          Q.        Okay.   Well, that was my next
        16   question.    Do you think that the
        17   misinterpretation of the negative pressure
        18   test on April 20, 2010, by the individuals
        19   involved was intentional?
11:17 20          MR. UNDERHILL:      Objection.     Wait.
        21   Objection as to form.
        22        A.        I don't know what those guys
        23   were thinking, I guess.
        24        Q.        (BY MR. REGAN)     Okay.    Do you
11:18 25     believe that the fact that the individuals


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         1   involved in the negative pressure test had a
         2   discussion about the pressures seen on the
         3   drill pipe and the -- the -- what they saw on
         4   the kill line, does that discussion suggest
11:18    5   to you that those men ignored the results of
         6   the tests that they were performing?
         7        MR. UNDERHILL:      Objection as to form.
         8        A.       I don't know what that
         9   discussion was because I wasn't there.
11:18 10          Q.       (BY MR. REGAN)      Right.
        11        A.       I know the outcome.
        12        Q.       Right.    But just the fact that a
        13   discussion was had about the test, does men
        14   having a discussion about tests they are
11:18 15     performing, does that suggest to you they
        16   were ignoring the results of the test?
        17        MR. UNDERHILL:      Objection as to form.
        18        A.       I guess I can say they were not
        19   ignoring them at the time they were having
11:18 20     the discussion.
        21        Q.       (BY MR. REGAN)      Okay.    Did you
        22   see anything in the materials you studied,
        23   Mr. Heenan, to suggest that the men involved
        24   in that test on that rig that night were --
11:19 25     were not concerned about their own welfare


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         1   and were not concerned about the welfare of
         2   their friends on the rig?
         3        A.       I don't know what they were
         4   thinking.
11:19    5        Q.       All right.     Did you see --
         6        A.       I have no evidence that they
         7   were unconcerned.
         8        Q.       Let me have you turn to Page 11
         9   of your report.     Actually, Page 16.
11:19 10          A.       16?
        11        Q.       Yes.
        12        A.       1-6?
        13        Q.       Uh-huh.    On Page 16, you have a
        14   sentence where you say -- with respect to the
11:19 15     negative pressure test --
        16        A.       Can you tell me where that's --
        17        Q.       In the second -- second full
        18   paragraph that -- again, referring to the BP
        19   and Transocean people involved.
11:20 20                   Quote, Instead they chose to
        21   believe the result that they wanted and
        22   expected to see, and ignored the clear danger
        23   signal from the well.
        24                 Do you see that sentence?
11:20 25          A.       I see that sentence.


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